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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District
                                                 __________      of Colorado
                                                            District  of __________

                  United States of America
                             v.                                    )
                                                                   )        Case No..22-mj-00012-SKC
           MATTHEW CHRISTOPHER HARRIS                              )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      MATTHEW CHRISTOPHER HARRIS                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 875(c) (transmission of threats in interstate commerce)




Date:         02/01/2022
                                                                                          Issuing officer’s signature

City and state:       Denver, Colorado                                        Magistrate Judge S. Kato Crews
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title
